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                         Exhibit 6
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Text of a letter sent by F. William McNabb III, Vanguard’s Chairman and CEO, to the independent leaders
of the boards of directors of the Vanguard funds’ largest portfolio holdings.




February 27, 2015

Dear [Name of Independent Chairman or Lead Director]:

As a substantial investor in [Company Name], we are writing to share Vanguard’s views on corporate governance
and to provide perspective on the way we think about engagement between shareholders and directors.

Vanguard-sponsored mutual funds and other investment portfolios we manage own a significant number of your
company’s outstanding shares. We depend on you and your fellow directors to serve as the ultimate stewards
of our significant investment. We look to your leadership in matters of governance, compensation, succession
planning, and oversight of strategy and risk. Thank you for taking on these critical and weighty responsibilities
on behalf of investors.


Vanguard’s principles for corporate governance
Today, Vanguard is one of the largest investment managers in the world, with more than $3 trillion in client
assets under management. More than half of the money that we manage is in index equity funds and represents
essentially permanent investments in our portfolio companies. An additional $400 billion is in actively managed
equity funds that are run with a distinctly long-term perspective. We are large, we don’t make a lot of noise, we
are focused on the long term, and we don’t tend to rush into and out of investments.

In the past, some have mistakenly assumed that our predominantly passive management style suggests a
passive attitude with respect to corporate governance. Nothing could be further from the truth. We will be
investors in your company during good times and bad. We want to see our clients’ investments grow over the
long term, and good governance is a key to helping companies maximize their returns to shareholders. We have
no interest in telling companies how to run their businesses, but we have valuable governance insights to share
with the board of directors. In our view, a good governance program is distinguished by the following principles:


                                              Board should be substantially independent of management
 Independent oversight
                                              and have independent leadership (i.e., chair or lead director).

                                              Management should be accountable to the board and directors
 Accountability
                                              should be accountable to shareholders.

 Shareholder voting rights consistent         This means one share, one vote. No special share classes
 with economic interests                      for added voting power.

 Annual director elections and minimal        Minimize use of anti-takeover devices such as classified boards
 anti-takeover devices                        or poison pills.

 Sensible compensation tied                   Executive pay should be tied to the creation of long-term
 to performance                               shareholder value.

                                              We encourage boards to have a thoughtful process
 Shareholder engagement
                                              to communicate with shareholders.
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Engagement in focus: Why it’s important
The relationship between corporate boards and large shareholders is important, but too often, there’s precious
little communication between the two parties. The case for effective engagement is compelling for both
shareholders and boards.

We’ve observed that the best boards work hard to develop “self-awareness,” and seek feedback and
perspectives independent of management. They ask the right questions to understand how their company may
be different than peers, and whether those differences are strengths or vulnerabilities. We believe boards that
provide such context to investors are less likely to be surprised by activists or proxy votes, and more likely to
have stronger support of large long-term shareholders. We also believe that engagement is a dialogue, with
both parties listening to and informing each other.


Different avenues for engagement
While we advocate for shareholder engagement, we don’t presume to know what the optimal structure
for engagement looks like for your board. To be sure, there is no one-size-fits-all engagement program.
We encourage you to speak to your board about engagement, and create a process that meets your needs
and those of your shareholders. We’ve found that having an established channel or process for shareholder
interaction works better than handling engagement requests in an ad hoc or reactive manner.

We have suggested the creation of a “Shareholder Liaison Committee” as one possible means to promote
better and richer communication between shareholders and boards, and believe such a committee can provide
an appropriate structure for communicating with significant shareholders. We’ve also seen boards successfully
assign engagement expectations to existing committees, or embed such expectations into certain board roles
(e.g., independent chair, lead independent director, committee chairs). Ultimately, it’s more about the behavior
than the framework. We’re indifferent as to how a board chooses to engage. What’s important to us is that
it engages.

And when they engage, boards should be prepared to enter into a dialogue on appropriate issues of interest
to significant, long-term investors. Some investors may be primarily interested in engaging on environmental,
social, or governance considerations. Other investors may have a particular perspective to share regarding the
company’s strategy or management relative to peers. In any event, these perspectives represent the views of
the investors on whose behalf directors serve, and we believe that directors should understand them. In addition
to providing a venue to gather unfiltered shareholder perspectives, directors should invite communication with
those shareholders who may have a legitimate interest in gaining a deeper understanding of board oversight
of succession, compensation, or risk management—without encroaching on management’s primary role to
communicate with investors regarding the business.


Don’t be dissuaded by common concerns
As with any change in behavior, there may be questions or objections from those who have yet to fully embrace
more significant engagement. That said, we do not believe these should be insurmountable barriers to progress.
Among the perspectives we’ve heard in this regard are the following:
• “Strong shareholder-director engagement will disintermediate management.” This is not what large shareholders
  seek in an engagement program. Boards often choose to include management for legal support and to discuss
  operational issues. There are also matters that are the exclusive province of the board (e.g., CEO compensation),
  which we believe are appropriate for discussion with the board alone.
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• “We’ll get tripped up on Reg FD issues.” To be clear, we are not seeking inside information on strategy
  or future expectations. Rather, we are seeking to provide the perspective of a long-term investor. Individual
  firms should decide how to manage this risk. You may choose to train directors, include your legal counsel
  in shareholder conversations, and/or set clear boundaries for discussions.
• “There is no time in our agenda.” Individual boards can decide how much time to allot to engagement.
  Respectfully, we’d submit that time for engagement with significant shareholders deserves consideration
  on a board’s agenda. After all, investors are an important constituency whom boards represent.
• “This would be too difficult to implement.” Many companies already have substantive engagement programs
  in place. The Shareholder-Director Exchange (SDX) Protocol, available at sdxprotocol.com, offers guidance
  for such programs. This protocol also provides specific considerations for companies that may be concerned
  about Regulation FD.


Share your perspective
I encourage all boards to actively communicate how they engage with investors. Do you already have an
engagement process in place? Have previous engagements with investors resulted in positive outcomes?
Large shareholders like Vanguard want to know your approach and how you plan to engage.

Please know that when you talk, we listen. When you provide updates in your proxy materials or post
statements on your company’s website, we read them. We pledge to be clear and transparent about our
expectations, and we ask that you do the same. We look forward to partnering with you as you consider
how to effectively engage with your large and long-term shareholders. Our governance team, reachable
at CorporateGovernance@vanguard.com, stands ready to work with you to understand how best to
promote meaningful communication between shareholders and directors for our mutual benefit.

Thank you for serving as the stewards of our investment in your company.




Sincerely,




F. William McNabb III
Chairman and Chief Executive Officer
